Case 2:23-cv-01221-JES-KCD Document 1-8 Filed 12/27/23 Page 1 of 2 PagelD 27

Exhibit H
“Case 2:23-cv-01221-JES-KCD Document 1-8” Filed 12/27/23" Page 2 of 2 PagelD 28—

ALVERNO COLLEGE

ESTABLISHED 1887

May 12, 2023 OFFICE OF ADVANCEMENT

Mr. and Mrs. John Morrison
3093 Fort Charles Dr.
Naples, FL 34102

Dear John and Susan,

We thank you for your generous pledge of $1,000,000 to support A/verno Strong: For Our
College, Our Milwaukee, Our World. To date, our records show a balance of $800,000. As a
courtesy, we are submitting this update to keep you informed of the progress of your pledge.

Purpose Pledge | Pledge Payment Payment |
Amount Scheduled Date
Alverno College Mesa Location $1,000,000 6/30/22 $200 O00
6/30/23 $200 BOC
Total Due $405 200

Your leadership gift has enabled the many start-up investments necessary to open the new Alvernc
College Mesa location. Your generous support will advance the Alverno Strong strategic pnonty
concerning healthcare education in Arizona. Thank you can never adequately demonstrate our

gratitude to you.

Thank you again for investing in Alverno and making these advancements possible. The easiest way
to make your pledge payment is through our secure website at www.alverno.edu/campaign-
payment. Or, if you prefer, return your check along with the tear strip below in the envelope
provided. Again, thank you for supporting this important campaign.

Sincerely,
So p—~
oseph'T. Foy. Ph.D.
Interim President and Vice President for Academic Affairs

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KKK KIIH KIER RE RERR EER ERE EERE EERERERERERERERE ER EREREERERE KK EKER EER REERRE RE

Check is enclosed ID # 467974 Susan and John Morrison

lf you wish to use your credit card rather than a check or money order, please complete the information
below and return this letter in the envelope provided.

Select one: MasterCard __ Visa___ Discover ___ American Express __ Gift Amount: $

Card Number: Exp. Date: Security Code

Your signature:

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